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             10                         UNITED STATES DISTRICT COURT
             11                       CENTRAL DISTRICT OF CALIFORNIA
             12

             13   ERNEST CUADRA, on behalf of                 Case No. 2:20-cv-10719-JFW (SKx)
                  himself and others similarly situated,
             14                                               DEFENDANT FEDEX GROUND
                               Plaintiff,                     PACKAGE SYSTEM,   INC.’S
                                                                      SYSTE1VI, INC.'S
             15                                               MEMORANDUM OF POINTS AND
                        v.                                    AUTHORITIES IN SUPPORT OF
             16                                               MOTION FOR PARTIAL SUMMARY
                FEDEX GROUND PACKAGE                          JUDGMENT
             17 SYSTEM, INC., a Delaware
                corporation; FEDEX, a business entity         Date:        October 25, 2021
             18 unknown; and DOES 1 to 100,                   Time:        1:30 p.m.
                Inclusive,                                    Place:       Courtroom 7A
             19
                                                                             filed with Notice of
                                                             [Concurrentlyfiled                of Motion
             20                Defendants.                   for Partial Summary Judgment; Separate
                                                             tor
                                                             Statement; Declarations of of Andrea Cox
             21                                              and Alexander M  M. Chemers; Questions
                                                                                            questions
                                                                           from Cited Testimony; and
                                                             and Answersfrom
             22                                              [Proposed] Order]
             23                                               Complaint Filed: December 3, 2019
                                                              Trial Date:       December 14, 2021
             24                                               Pre-Trial Conf.: November 19, 2021
                                                              District Judge: Hon. John F. Walter
             25                                                                 Courtroom 7A, First St.
                                                              Magistrate Judge: Hon. Steve Kim
             26                                                                 Courtroom 540, Roybal
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              1
              1                 MEMORANDUM OF POINTS AND AUTHORITIES
              2   I.    INTRODUCTION
              3                                 (“Plaintiff”) asserts six causes of action against his
                        Plaintiff Ernest Cuadra ("Plaintiff')
              4   former
                  former employer FedEx Ground
                         employer FedEx Ground Package
                                               Package System, Inc. ("FedEx
                                                       System, Inc. (“FedEx Ground”
                                                                            Ground" or
                                                                                    or
                “Defendant”). All of these claims rest on the same core allegation, namely,
              5 "Defendant").

              6   Plaintiff’s
                  Plaintiff's contention that alleged
                              contention that         security checks
                                              alleged security checks resulted in off-the-clock
                                                                      resulted in off-the-clock work and
              7                                       breaks.1
                  non-compliant meal periods and rest breaks)
              8         Plaintiff briefly worked for Defendant during the relevant period. Because the
              9 value of his wage claims is miniscule, Plaintiff seeks to magnify his recovery by
                                           “derivative” theory.
             10 pursuing penalties under a "derivative" theory. This includes Plaintiff’s
                                                                This includes Plaintiff's fourth
                                                                                          fourth cause
                                                                                                 cause
             11   of action for inaccurate wage statements, which is the focus of this Motion for Partial
             12   Summary Judgment. Plaintiff concedes that his wage statements contain the
             13   categories of information required by Labor Code § 226(a), that they accurately
             14 reflect the amounts that he was paid during his employment, and that he knew

             15 any security check time was not included in his pay. He nevertheless argues that
                                    were "inaccurate"
             16 the wage statements were “inaccurate” because
                                                      because he
                                                              he should have been paid
                                                                                  paid additional
             17 amounts but was not.

             18         This theory fails as a matter of law. Plaintiff is free to seek unpaid wages at
             19 trial, but awarding statutory penalties through Section 226 represents an

             20   impermissible double recovery. The remedy for unpaid wages is the unpaid wages,
             21   not wage statement penalties. For this same reason, Plaintiff cannot meet the injury
             22   requirement of Section 226(e). An employee is only injured if their wage statements
             23   fail to document the amounts actually paid. Here, Plaintiff admits that his wage
             24   statements were accurate and tracked his earnings.
             25         The Court should dismiss the Section 226 claim with prejudice.
             26

             27 11 This matter was initially pursued by Plaintiff on a putative class basis. Although
                 Plaintiff’s Motion for
                 Plaintiff's Motion  for Class Certification was
                                         Class Certification was denied
                                                                 denied without
                                                                         without prejudice
                                                                                  prejudice and     with
                                                                                               and with
             28  Plaintiff given leave to refile the motion, he has not yet done  so.  (ECF    105.)
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              1
              1   II.   STATEMENT OF UNDISPUTED FACTS
              2         Defendant briefly summarizes the factual allegations that both undergird and
                undermine Plaintiff's
              3 undermine Plaintiff’s Section 226 claim.
                                      Section 226 claim.
              4         A.
                        A.    Plaintiff’s
                              Plaintiff's Core Allegation Related
                                          Core Allegation Related to Alleged Security
                                                                  to Alleged          Checks.
                                                                             Security Checks.
              5         Plaintiff alleges six causes of action in his Complaint, which can be found at
              6   ECF 1-1. The causes of action are for:
              7         1. Failure to Pay Minimum Wage or Overtime Wages
              8         2. Failure to Provide Meal Periods
              9         3. Failure to Provide Rest Breaks
             10         4. Failure to Provide Accurate Wage Statements
             11         5. Failure to Timely Pay Unpaid Wages Due at Time of Separation
             12         6. Unfair Business Practices
             13 (Id.)

             14         The common allegation supporting all of these claims is found at paragraph 11
             15   of the Complaint,
                  of the            where Plaintiff
                         Complaint, where Plaintiff alleges that FedEx
                                                    alleges that FedEx Ground “did not
                                                                       Ground "did not pay
                                                                                       pay wages
                                                                                           wages to
                                                                                                 to
             16 Plaintiff or other warehouse employees for the time they waited in line or went

             17 through security screening at the beginning of their shift, any time they left the

             18 premises during meal or rest breaks or returned from leaving the premises during

             19 meal or rest breaks, [and] at the end of their shift . . . ."             Fact ("UF")
                                                                           .” (Undisputed Fact (“UF”) 1.2)
                                                                                                      1.2)
             20   The same alleged security checks are cited as the reason why Plaintiff was allegedly
             21   denied meal periods and rest breaks. (UF 2-3.)
             22         B.
                        B.    Plaintiff
                              Plaintiff Framed His Wage
                                        Framed His Wage Statement
                                                        Statement Claim As Purely
                                                                  Claim As Purely
             23               “Derivative”.
                              "Derivative".
             24         By his
                        By his own admission, Plaintiff’s
                               own admission, Plaintiff's fourth
                                                          fourth cause of action
                                                                 cause of action for inaccurate wage
                                                                                 for inaccurate
             25                 “derivative” of
                  statements is "derivative"    his claim
                                             of his claim for unpaid wages
                                                          for unpaid wages and
                                                                           and meal/rest
                                                                               meal/rest premiums.
                                                                                         premiums.
             26

             27
                  22 Defendant’s
                     Defendant's Separate
                                       Statement
                                 Separate        of Undisputed
                                       Statement of Undisputed Facts
                                                               Facts and
                                                                     and Conclusions
                                                                         Conclusions of   of Law
                                                                                             Law is
                                                                                                  is
             28 filed concurrently herewith.
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              1
              1                                                      FedEx Ground
                        As alleged at paragraph 52 of the Complaint, FedEx        “did not
                                                                           Ground "did
              2   accurately state
                  accurately state Plaintiff and other
                                   Plaintiff and other warehouse
                                                       warehouse employees’ gross wages
                                                                 employees' gross wages earned, total
                                                                                        earned, total
              3 hours worked, net wage earned, and number of hours worked at each hourly rate by
              4   the employees.” (UF 4.) The
                      employees." (UF     The supposed
                                              supposed reason
                                                       reason for FedEx Ground
                                                              for FedEx        “inaccurately
                                                                        Ground "inaccurately
              5 set[ting] forth this information" was that
                                     information” was that it
                                                           it "failed
                                                              “failed to account for the hours worked
              6   and wages earned by employees during the time they were required to wait in line for
              7   and go through mandatory security checks” and "also
                                                    checks" and “also failed to account and pay for
              8 meal and rest period premium wages [owed] due to its requirement that employees

              9 pass through and wait in line for mandatory security checks during meal and rest

                           (UF 5.)
                breaks[.]” (UF
             10 breaks[.]"
             11         As summarized
                        As summarized by
                                      by Plaintiff, “the wage statements provided to employees were
                                         Plaintiff, "the
             12 inaccurate because they did not include the hours worked and wages earned by

             13   employees during security screening time and/or meal and rest period premiums that
                                        (UF 6.)
                                 paid.” (UF
             14 should have been paid."

             15         The derivative nature of this claim is specified in paragraph 54, where Plaintiff
                states that,
             16 states that, "[a]s
                             “[a]s aa derivative result of
                                                        of the
                                                           the failure to pay
                                                               failure to pay wages,"
                                                                              wages,” FedEx
                                                                                      FedEx Ground also
                                                                                            Ground also
             17 violated Section 226. (UF 7.)

             18         C.
                        C.     Plaintiff
                               Plaintiff Testified
                                         Testified That
                                                   That His Wage Statements
                                                        His Wage            Accurately Identified
                                                                 Statements Accurately Identified
             19                All Amounts
                               All Amounts He
                                           He Was
                                              Was Paid.
                                                  Paid.
             20         At his deposition, Plaintiff doubled down on his derivative theory of liability.
             21         Plaintiff testified that his wage statements included the categories of
             22   information required
                  information required by
                                       by Labor Code §
                                          Labor Code § 226(a),
                                                       226(a), including
                                                               including the
                                                                         the employer’s name and
                                                                             employer's name and
             23   address, the total hours worked, the rate of pay, and total pay. (UF 8.) Plaintiff also
             24   confirmed that the hours listed on his wage statements corresponded with the hours
             25   that he was paid. (UF 9.)
             26         Once again, the claimed defect with the wage statements was that they did not
             27   include pay for alleged security checks, even though Plaintiff knew that any such
             28   time was not included. The following colloquy illustrates this point:
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              1
              1         Q: [Y]ou
                        Q: [Y]ou understand
                                 understand you're
                                            you’re suing
                                                   suing FedEx
                                                         FedEx .. .. .. for
                                                                        for claimed wages in
                                                                            claimed wages in
              2         connection with security checks; right?
              3         A: Correct.
              4         Q: Okay.
                        Q:       But you
                           Okay. But you can see there's
                                         can see there’s no
                                                         no reference on your
                                                            reference on your .. .. .. pay
                                                                                       pay stub
                                                                                           stub to
                                                                                                to
              5         any security check pay; right?
              6                  don’t see
                        A: No, I don't see it.
                                           it.
              7         Q: Okay. And . . . I take it you understood you were not being paid at
              8         that time, in April 2019, for any claimed security check time; right?
              9         A: Correct.
             10         ** ** **
             11         Q: And based on our review right now, is there any information listed
             12         on this wage statement that you think is inaccurate?
             13         A: Yeah, the time, security guard check, standing in line.
             14         Q: Okay.
                        Q:       But you
                           Okay. But you knew
                                         knew that
                                              that wasn't
                                                   wasn’t listed
                                                          listed on this wage
                                                                 on this wage statement;
                                                                              statement;
             15         right?
             16         A: Yeah.
                        A: Yeah. It’s not here.
                                 It's not here. II don't
                                                   don’t see
                                                         see it.
                                                             it.
                         A set
             17 (UF 10.) A set of
                               of Plaintiff’s wage statements are submitted as Exhibit 1 to the
                                  Plaintiff's wage
             18   concurrently filed Declaration of Andrea Cox.
             19 III.    APPLICABLE LEGAL STANDARD
             20         Summary judgment should
                        Summary judgment should be
                                                be granted
                                                   granted in
                                                           in whole
                                                              whole or
                                                                    or in
                                                                       in part
                                                                          part where
                                                                               where "there
                                                                                     “there is no
                                                                                            is no
             21   genuine dispute as to any material fact and . . . the movant is entitled to judgment as
             22   aa matter
                     matter of law.” Fed.
                            of law." Fed. R.
                                          R. Civ.
                                             Civ. Proc.
                                                  Proc. 56(a).
                                                        56(a).
             23   ///
             24   ///
             25   ///
             26   ///
             27   ///
             28   ///
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              1
              1   IV.   LEGAL ARGUMENT
              2         By his
                        By his own admission, Plaintiff’s
                               own admission,             wage statement
                                              Plaintiff's wage statement claim is completely
                                                                         claim is completely
              3 derivative of his claims for unpaid wages and meal/rest premiums.
              4         A.
                        A.     Plaintiff’s Wage Statements
                               Plaintiff's Wage            Included The
                                                Statements Included     Required Categories
                                                                    The Required Categories Of
                                                                                            Of
              5                Information And
                               Information And Accurately
                                               Accurately Reflected All Amounts
                                                          Reflected All Amounts Paid.
                                                                                Paid.
              6         Pursuant to Labor Code Section 226(a), an employer must provide employees
              7   with an “accurate itemized
                       an "accurate itemized statement"
                                             statement” along
                                                        along with
                                                              with each payment of
                                                                   each payment of wages,
                                                                                   wages, showing
                                                                                          showing
              8 particular items, including gross and net wages earned, total hours worked, hourly

              9 rates, etc.
             10         At no point has Plaintiff claimed that his wage statements did not include the
             11   categories of information required by Labor Code § 226(a). Nor does he contend
             12 that the amounts listed on his wage statements did not match the amounts that he

             13 was actually paid by FedEx Ground. Rather, he exclusively argues that his wage

             14 statements should have included additional pay because of alleged security checks.

             15         This theory of liability fails for two independent reasons, as discussed below.
             16         B.
                        B.     Plaintiff’s Derivative Section
                               Plaintiff's Derivative         226 Claim
                                                      Section 226 Claim Seeks an Impermissible
                                                                        Seeks an Impermissible
             17                Double Recovery.
                               Double Recovery.
             18         Numerous courts have dismissed similar derivative wage statement claims for
             19 the exact same circumstances presented here, finding that an award of damages for a

             20   violation and allowing penalties for a derivative wage statement claim amounts to an
             21   improper double recovery.
             22         For example, in Maldonado v. Epsilon Plastics, Inc., 22 Cal. App. 5th 1308,
             23   1336–37 (2018), review denied (Aug. 22, 2018), the California Court of Appeal held
                  1336-37
             24   that plaintiffs could not recover on a wholly derivative wage statement claim under
             25   Section 226. There, plaintiffs were not properly paid overtime. Id. at 1335. The
             26   trial court awarded plaintiffs penalties for inaccurate wage statements because the
             27   wage statements documented the improper overtime wage rates. Id. at 1334. The
             28   Court of
                  Court of Appeal
                           Appeal held
                                  held that
                                       that "the
                                            “the absence
                                                 absence of accurate wages earned will be remedied
                                                         of accurate
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               1
               1   by the violated wage and hour law itself," not the
                                                     itself,” not the wage
                                                                      wage statement
                                                                           statement claim,
                                                                                     claim, and
                                                                                            and
               2   remanded to eliminate the award for wage statement penalties. Id. at 1336, 1339
               3 (original emphasis).
               4         Similarly, in Castro v. Wal-Mart
                                                 Wal-Mart Inc., No. 20-cv-00928-JAM-KJN, 2020 WL
               5 4748167, at *2 (E.D. Cal. Aug. 17, 2020), the plaintiff alleged that his employer

               6   “failed to
                   "failed to include
                              include accurate hours and
                                      accurate hours and gross
                                                         gross wages
                                                               wages earned due to
                                                                     earned due to Defendants’
                                                                                   Defendants'
               7   systematic policies of failing to compensate Plaintiff and members of the Plaintiff
                 Class for
               8 Class     all time
                       for all time worked,
                                    worked, including
                                            including time
                                                      time spent
                                                           spent ‘off the clock.’”
                                                                 'off the clock.'" Id. at 1. The court
                 dismissed the
               9 dismissed the Section 226 claim
                               Section 226 claim and
                                                 and explained that claims
                                                     explained that claims for “off the
                                                                           for "off the clock” work
                                                                                        clock" work
                 are "based
              10 are “based on
                            on ‘wages
                               'wages earned’ since [the]
                                      earned' since [the] allegation
                                                          allegation for
                                                                     for failure to compensate
                                                                         failure to            off-the-
                                                                                    compensate off-the-
              11   clock work will be remedied by [a] wage and hour claim,” not aa wage
                                                                    claim," not    wage statement
                                                                                        statement
              12   claim. Id. at 2.
              13         In Parsittie v. Schneider Logistics, Inc., No. 19-3981-MWF (AFMx), 2020
                                                2019)3, the plaintiff—exactly like Plaintiff
              14 WL 2120003 (C.D. Cal. Oct. 29, 2019)3,                            Plaintiff here—
              15 alleged that his employer had a policy of not paying employees for off-the-clock

              16 work. Id. at *7. The plaintiff alleged the uncompensated time constituted a regular

              17 wages violation and a Section 226 violation. Id. The court dismissed the Section

                                                                    “recovery under
              18 226 claim without leave to amend, reasoning that a "recovery under this
                                                                                    this claim would
                                                                                         claim would
                                                             intended to
              19 be impermissible because section 226 is not intended to permit
                                                                         permit aa ‘double recovery’
                                                                                   'double recovery'
              20   such as
                   such as Plaintiff seeks here."
                           Plaintiff seeks here.” It
                                                  It found that dismissal
                                                     found that dismissal was
                                                                          was justified
                                                                              justified where
                                                                                        where the
                                                                                              the
              21   plaintiff’s "Opposition
                   plaintiff's “Opposition admits that his wage statement claim is based on the same
              22                                                              which is
                   theories as his claims for unpaid wages and missed breaks, which is impermissible."
                                                                                       impermissible.”
              23   Id.
              24         In Sagastume v. Psychemedics Corporation, et al., CV 20-6624 DSF (GJSx),
              25
                   3
              26   The district court opinion was affirmed in part, reversed in part, and remanded in
                 Parsittie v. Schneider Logistics, Inc., --- Fed. Appx. ---, 202I
                                                                              2021 WL 2365978 (9th Cir.
              27 June  9, 2021).  While  the  Ninth Circuit in Parsittie disagreed  with other aspects of
                 the lower
                 the lower court  ruling, it
                            court ruling, it found that the
                                             found that the "district
                                                            “district court properly dismissed
                                                                      court properly  dismissed Parsittie’s
                                                                                                    Varsittie's
              28 wage-statement    claim
                                   claim  under
                                          under California
                                                California  Labor
                                                            Labor  Code
                                                                   Code  §
                                                                         §  226(a).”
                                                                            226(a)."  Id.  at *2.
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               1
               1   2020 WL 8175597 (C.D. Cal. Nov. 30, 2020), the plaintiff alleged that her employer
               2   “intentionally and
                   "intentionally and willfully
                                      willfully failed to provide
                                                failed to provide Plaintiff and the other class members
                                                 statements” including
               3 with complete and accurate wage statements" including by
                                                                       by failing “to include
                                                                          failing "to include the
                                                                                              the
               4   accurate total
                   accurate total number
                                  number of hours worked
                                         of hours worked by
                                                         by Plaintiff and the
                                                            Plaintiff and the other
                                                                              other class members.”
                                                                                    class members."
               5 Id., at
                      at *5. The court
                         *5. The       dismissed the
                                 court dismissed the wage
                                                     wage statement
                                                          statement claim because "[r]ecovery
                                                                    claim because “[r]ecovery on
                                                                                              on her
                                                                                                 her
               6   wage statements claim then would be impermissible double recovery for her hours
               7   worked claims.”
                   worked claims."
               8          Other courts are in accord. See also Morales v. Paschen Management
               9   Corporation, No. CV 19-2505-MWF (GJSx), 2019 WL 6354396, at *9 (C.D. Cal.
                                 (“California Labor Code section 226 is not intended to permit a
              10 Sept. 27, 2019) ("California
              11   ‘double recovery’ like
                   `double recovery' like Plaintiff seeks here.
                                          Plaintiff seeks here. Plaintiff’s
                                                                Plaintiff's claim is based
                                                                            claim is based on
                                                                                           on Defendants'
                                                                                              Defendants’
              12 alleged deduction of time for meal breaks Plaintiff did not actually receive, which is

              13   entirely duplicative of
                                        of Plaintiff’s previous causes
                                           Plaintiff's previous causes of action.”); Razo v. Cemex
                                                                       of action.");
              14 Construction Materials Pacific, LLC, No. CV 20-11175-MWF (KSx), 2021 WL

              15 3466326, at *6 (C.D. Cal. Mar. 30, 2021) (same); Krauss v. Wal-Mart,
                                                                            Wal-Mart, Inc., No.
              16 2:19-cv-00838-JAM-DB, 2019 WL 6170770, at *4 (E.D. Cal. Nov. 20, 2019)

              17 (same); Pyara v. Sysco Corp., No. 2:15-CV-01208-JAM-KJN, 2016 WL 3916339,

                                                 (same).4
              18 at *7 (E.D. Cal. July 20, 2016) (same).4

              19          The same reasoning that underlies each of these rulings applies to this case.
              20   Plaintiff’s wage statement
                   Plaintiff's wage statement claim is derivative
                                              claim is derivative of his claims for unpaid wages and
                                                                  of his
              21   premiums. Plaintiff’s attempt to
                             Plaintiff's attempt to recover
                                                    recover unpaid wages and meal/rest premiums
              22   based on alleged off-the-clock work, and a penalty because the wage statements did
              23

              24   4
                   4 Certain other district courts—particularly in the Northern District of California—
              25   have elected not to apply Maldonado in this context, including finding that the
                   decision only applies where the hours worked are correct but the hourly rate is
              26   incorrect. See, e.g., Fodera v. Equinox Holdings
                                                              Holdings, Inc., No. 19-CV-050'72-WHO,
                                                                                  19-CV-05072-WHO,
                              3961985, at *5 (N.D. Cal. July 13, 2020). Defendant questions the logic of
                   2020 WL 3961983,
              27   these decisions,
                   these decisions, since
                                    since the
                                           the plaintiff's
                                               plaintiff’s contention
                                                           contention in
                                                                      in Maldonado that the hourly rate
                   was inaccurate is identical—for                                          plaintiff’s
                                      identicaI—for purposes of Labor Code § 226—to plaintiff's
              28   contention here that the hours worked were inaccurate.
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               1
               1   not record the time spent allegedly working off-the-clock, is an attempt to obtain a
               2   double recovery, which has been explicitly and wisely rejected by each of the
               3 abovementioned courts.
               4         C.
                         C.     Plaintiff
                                Plaintiff Fails
                                          Fails to Allege the
                                                to Allege     Requisite Injury
                                                          the Requisite Injury Because
                                                                               Because His
                                                                                       His Wage
                                                                                           Wage
               5                Statements Accurately Reported
                                Statements Accurately Reported the Wages Paid
                                                               the Wages Paid
               6         Plaintiff’s
                         Plaintiff's Section 226 claim
                                     Section 226       also fails
                                                 claim also       because he cannot articulate a
                                                            fails because
               7   cognizable injury.
               8         Under Section 226(e), an employer is only liable for inaccurate wage
               9 statements if the employee is injured by a knowing and intentional failure to comply

                 with Section
              10 with         226(a). An
                      Section 226(a). An employee
                                         employee is deemed to
                                                  is deemed to have
                                                               have suffered
                                                                    suffered an “injury” for
                                                                             an "injury" for
              11   purposes of Section 226(e) when the employee cannot determine from the wage
                                                                      “paid .. .. .. during the pay
              12 statement the amount of gross and net wages actually "paid

                 period” and
              13 period" and the
                             the amount
                                 amount of deductions actually
                                        of deductions actually "made
                                                               “made .. .. .. during
                                                                              during the
                                                                                     the pay
                                                                                         pay period."
                                                                                             period.”
              14 See Cal. Labor Code § 226(e)(2)(B)(i)-(ii).

              15                                                     ‘“[t]he purpose
                         As noted by the California Court of Appeal, "It]he  purpose of requiring
                                                                                     of requiring
              16 greater wage stub information is to insure that employees are adequately informed of

              17   compensation received and
                   compensation received and are not shortchanged
                                             are not shortchanged by
                                                                  by their
                                                                     their employers.’”
                                                                           employers.' Soto v. Motel
              18   6 Operating, L.P., 4 Cal. App. 5th 385, 392 (2016) (citations to quotations omitted).
              19 The Soto court
                          court continued, “Consistent with the purpose, an employer is required to
                                continued, "Consistent
              20   identify only
                   identify      those statutory
                            only those statutory items
                                                 items that
                                                       that are
                                                            are part
                                                                part of
                                                                     of the
                                                                        the employee’s
                                                                            employee's current monetary
                                                                                       current monetary
              21   compensation [and] must provide the employee with an itemized statement
              22                                                                              .” Id. at
                   identifying the specific wages being paid at the time of the payment . . . ."
              23   392-93.
              24         Thus, courts regularly dismiss Section 226 claims where, like here, the
              25   plaintiff fails to allege that he was unable to determine the amount of wages he was
              26            paid in that pay period from the face of his wage statements, and instead
                   actually paid
              27   alleges a violation based on what he should have been paid. See De La Torre v. Am.
              28   Red Cross, No. CV 13-4302-DDP (JEMx), 2013 WL 5573101, at *6 (C.D. Cal. Oct.
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               1
               1   9, 2013) (dismissing Section 226 claim because the plaintiff failed to allege that she
               2   was unable
                   was unable to
                              to "promptly
                                 “promptly and
                                           and easily determine” from
                                               easily determine"      the wage
                                                                 from the wage statement
                                                                               statement "the
                                                                                         “the
               3 amount of gross wages or net wages actually paid to her during the pay periods at
               4   issue.”); Sherman v. Schneider National Carriers, Inc., No. 18-08609-AB (JCx),
                   issue.");
               5 2019 WL 3220585, at *5 (C.D. Cal. March 6, 2019) (dismissing wage statement

               6   claim because "Plaintiff
                   claim because “Plaintiff has alleged only that the amount he was paid was incorrect,
               7   not that
                   not that the
                            the wage
                                wage statements
                                     statements inaccurately
                                                inaccurately reflected
                                                             reflected the
                                                                       the wages
                                                                           wages he
                                                                                 he was
                                                                                    was paid.");
                                                                                        paid.”); Lyter v.
               8   Cambridge Sierra Holdings, LLC, No. CV 17-3435-MWF (AGRx), 2017 WL
                                                       (“Plaintiff has
               9 8186044, *5 (C.D. Cal. July 25, 2017) ("Plaintiff has failed to allege
                                                                       failed to        that she
                                                                                 allege that she was
                                                                                                 was
              10 unable to determine the amount of wages she was actually paid from the face of her
              11   wage statements. Rather, she alleges that the amount she was paid was incorrect.
              12 Accordingly, Plaintiff has not met section 226 ’s injury requirement.”).
                                                                's injury requirement.").
              13         Here, Plaintiff does not contend that the wage statements he received were
                                                            paid to him during the applicable pay
              14 inaccurate in reporting the wages actually paid

              15 periods. To the contrary, he admitted at his deposition that the wage statements

              16 accurately reported the amounts paid him. In other words, Plaintiff alleges that the

              17 wage statements were only inaccurate because they did not reflect the hours that

              18   Plaintiff believes he should have been paid for, but was not paid.
              19         The alleged failure to include compensation that the employee claims should
              20   have been
                   have been paid
                             paid does
                                  does not
                                       not give
                                           give rise
                                                rise to
                                                     to Section 226(e) penalties.
                                                        Section 226(e) penalties. In
                                                                                  In fact, “wage
                                                                                     fact, "wage
              21                               226(a) even
                   statements do not violate § 226(a)      if the
                                                      even if the amount
                                                                  amount paid
                                                                         paid was
                                                                              was incorrect."
                                                                                  incorrect.” Sherman,
              22   2019 WL 3220585 at *5. As long as the wage statement accurately reflects those
              23   wages the employee was actually paid, there is no injury. Once again, this is not the
              24   type of conduct that Section 226 was enacted to regulate and deter.
              25   ///
              26   ///
              27   ///
              28   ///
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               1 V.
               1        CONCLUSION
               2        For the foregoing reasons, FedEx Ground requests that the Court grant this
                 Motion and
               3 Motion and dismiss
                            dismiss Plaintiff’s
                                    Plaintiff's Section 226 claim with prejudice.
                                                Section 226
               4

               5 DATED: September 27, 2021              OGLETREE, DEAKINS, NASH, SMOAK &
                                                        STEWART, P.C.
               6

               7

               8                                        By: /s/ Alexander M. Chemers
                                                            Evan R. Moses
               9                                            Alexander M. Chemers
                                                            Melis Atalay
              10                                            Omar M. Aniff
              11                                        Attorneys for Defendant
                                                        FEDEX GROUND PACKAGE
              12                                        SYSTEM, INC.
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